      Case 3:18-cr-00034-HDM-CSD              Document 97         Filed 12/09/24   Page 1 of 3




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 8                               UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                               Case No. 3:18-cr-00034-HDM-CSD
11
                    Plaintiff,                               ORDER GRANTING
12
                                                             STIPULATION TO CONTINUE
            v.
13                                                           REVOCATION HEARING
     CHRISTOPHER ALLEN TATOMER,                              (First Request)
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
17
     United States Attorney, and Andrew Keenan, Assistant United States Attorney, counsel for the
18
     United States of America, and Rene L. Valladares, Federal Public Defender, and Rick Mula,
19
     Assistant Federal Public Defender, counsel for Christopher Allen Tatomer, that the Revocation
20
     Hearing currently scheduled on December 16, 2024, be vacated and continued to February 25,
21
     2025 at 11:00 a.m.
22
            This Stipulation is entered into for the following reasons:
23
            1.      The parties are negotiating a resolution of this case, and Mr. Tatomer requires
24
     additional time to consider the potential resolution.
25
            2.      Mr. Tatomer is in custody and agrees with the need for the continuance.
26
            3.      The parties agree to the continuance.
     Case 3:18-cr-00034-HDM-CSD             Document 97
                                                     96        Filed 12/09/24       Page 2 of 3




 1         This is the first request for a continuance of the revocation hearing.
 2         DATED this 4th day of December, 2024.
 3
 4   RENE L. VALLADARES                              JASON M. FRIERSON
     Federal Public Defender                         United States Attorney
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 6
     By /s/ Rick Mula                                By /s/Andrew Keenan
 7   RICK MULA                                       ANDREW KEENAN
     Assistant Federal Public Defender               Assistant United States Attorney
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      Case 3:18-cr-00034-HDM-CSD             Document 97       Filed 12/09/24     Page 3 of 3




 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 3:18-cr-00034-HDM-CSD
 4
                     Plaintiff,                          ORDER
 5
           v.
 6
     CHRISTOPHER ALLEN TATOMER,
 7
                     Defendant.
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 9
10   IT IS ORDERED that the revocation hearing currently scheduled for Monday, 12/16/2024

11              at 1:00 p.m., is vacated and continued to Tuesday, 2/25/2025 at 11:00 a.m. via video

12   conference in Reno Coutroom 4 before Judge Howard D. McKibben. IT IS SO ORDERED.

13     Dated this 9th day of December, 2024.
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                                                  UNITED STATES DISTRICT JUDGE
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